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                       IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION


 In re:                                                      Chapter 11
                           1
 USA GYMNASTICS,                                             Case No. 18-09108-RLM-11

                          Debtor.


                               NOTICE OF MOTIONS AND HEARING

          PLEASE TAKE NOTICE that on August 27, 2019 USA Gymnastics, as debtor and debtor

in possession in the above-captioned chapter 11 case (the “Debtor”), filed the following motion

and application (collectively, the “Motions”), which have been set for a hearing (the “Hearing”)

on Tuesday, September 17, 2019 at 1:30 p.m. (Prevailing Eastern Time) in Room 329 of the

United States Bankruptcy Court, 46 East Ohio Street, Indianapolis, Indiana 46204:

             Debtor’s Motion For Authority To Enter Into Executive Search Contract [Dkt. 738];
              and,
             Debtor’s Application For Order Authorizing The Debtor To Employ BDO USA, LLP
              As Ordinary Course Auditor And Tax Professional Pursuant To 11 U.S.C. § 327(b),
              Effective As Of July 15, 2019 [Dkt. 739].

          PLEASE TAKE FURTHER NOTICE that one of the Motions seeks the Court’s

authorization for the Debtor to employ a public accounting and consulting firm and to pay the fees

and expenses of that firm.

          PLEASE TAKE FURTHER NOTICE that any objections to the Motions must be filed

by Tuesday, September 10, 2019 at 4:00 p.m. (Prevailing Eastern Time).




1 The last four digits of the Debtor’s federal tax identification number are 7871.
                                                                                The location of the Debtor’s
principal office is 130 E. Washington Street, Suite 700, Indianapolis, Indiana 46204.
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       PLEASE TAKE FURTHER NOTICE that a dial-in telephone number for interested parties

to participate in the Hearing by conference call is 1-888-273-3658, passcode: 9247462#. All callers

shall keep their phones muted unless addressing the Court. All callers must identify themselves

and the party(ies) they represent when addressing the Court. Callers shall not place their phones

on hold during the Hearing.

       PLEASE TAKE FURTHER NOTICE that copies of the Motions may be accessed through

the case website at: https://omnimgt.com/usagymnastics, or by contacting the Debtor’s attorneys,

on PACER, or from the Clerk of the Court.

Dated: August 28, 2019                               Respectfully submitted,

                                                     JENNER & BLOCK LLP

                                                     By: /s/ Catherine Steege

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                                                     Counsel for the Debtor




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